
692 So.2d 308 (1997)
J.M., a child, Appellant,
v.
STATE of Florida, Appellee.
Nos. 96-1525, 96-1619.
District Court of Appeal of Florida, Fourth District.
April 30, 1997.
Richard L. Jorandby, Public Defender, and Karen E. Ehrlich, Assistant Public Defender, West Palm Beach, for appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and Aubin Wade Robinson, Assistant Attorney General, West Palm Beach, for appellee.
PER CURIAM.
In this consolidated appeal, J.M., a minor, appeals his adjudication as a delinquent for aggravated assault of a police officer and burglary of a conveyance and his commitment to a level six residential facility. We affirm appellant's convictions and his adjudication as a delinquent.
The state concedes that the trial court erred in failing to make requisite findings before sentencing appellant. Section 39.052(4)(e) 1., Florida Statutes (1995), formerly section 39.052(3)(e)1., provides:
If the court determines that the child should be adjudicated as having committed a delinquent act and should be committed to the department, such determination shall be in writing or on the record of the hearing. The determination shall include a specific finding of the reasons for the decision to adjudicate and to commit the child to the department.
The court's failure to make specific findings before adjudicating appellant delinquent and committing him constitutes reversible error. See J.R.C. v. State, No. 95-02560, 1997 WL 118236 (Fla. 2d DCA Mar.14, 1997); M.S.M. v. State, 639 So.2d 189, 190 (Fla. 2d DCA 1994).
Accordingly, we reverse and remand for a new disposition hearing with leave to the trial court to again sentence appellant to a level six facility after providing requisite reasons for the sentence.
AFFIRMED IN PART; REVERSED IN PART and REMANDED.
GUNTHER, C.J., and DELL and FARMER, JJ., concur.
